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                           UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    AT BECKLEY

 HILMA STOVER,
 On behalf of herself and a class                      CIVIL ACTION NO. 5:21-cv-00191
 of similarly situated persons,

                   Plaintiff,

          v.

 FLUENT HOME, LLC;
 THE BANK OF MISSOURI;
 ATLANTICUS SERVICES CORP.;
 FORTIVA FINANCIAL, LLC,

                   Defendants.



    MEMORANDUM IN SUPPORT OF THE BANK OF MISSOURI, ATLANTICUS
   SERVICES CORPORATION, AND FORTIVA FINANCIAL’S MOTION TO STAY

        The Bank of Missouri (“TBOM”), Atlanticus Services Corporation (“Atlanticus”), and

Fortiva Financial, LLC (“Fortiva”) (collectively, “Lending Defendants”), move this Court for an

Order staying this action pending resolution of their appeal to the United States Court of Appeals

for the Fourth Circuit. In particular, the Lending Defendants have filed a Notice of Appeal to the

Fourth Circuit pursuant to 9 U.S.C. § 16 from this Court’s Memorandum Opinion and Order (ECF

81) denying the Lending Defendants’ Motion to Compel Arbitration and Dismiss First Amended

Class Action Complaint. ECF 86. Defendant Fluent Home, LLC, has also filed an appeal. See

ECF 85.

   I.          An appeal pursuant to 9 U.S.C. § 16(a) automatically divests the district court of
               jurisdiction over the underlying claims.

        Section 16(a)(1)(A) of the Federal Arbitration Act (“FAA”), 9 U.S.C. § 16(a)(1)(A),

provides that parties may immediately appeal from a district court's denial of a motion to compel
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arbitration under § 206 of the FAA. The Fourth Circuit has held that such an appeal automatically

divests the district court of jurisdiction over the case, to track the policy goals of the FAA:

         Arbitration clauses reflect the parties’ preference for non-judicial dispute
         resolution, which may be faster and cheaper. These benefits are eroded, and may
         be lost or even turned into net losses, if it is necessary to proceed in both judicial
         and arbitral forums, or to do this sequentially . . . Immediate appeal under § 16(a)
         helps to cut the loss from duplication. Yet combining the costs of litigation and
         arbitration is what lies in store if a district court continues with the case while an
         appeal under § 16(a) is pending. Cases of this kind are therefore poor candidates
         for exceptions to the principle that a notice of appeal divests the district court of
         power to proceed with the aspects of the case that have been transferred to the court
         of appeals.

Levin v. Alms & Assocs., Inc., 634 F.3d 260, 263–64 (4th Cir. 2011) (quoting Bradford–Scott Data

Corp. v. Physician Comput. Network, 128 F.3d 504, 506 (7th Cir.1997)). This stay relates to all

proceedings before the district court including pretrial filings and discovery. See id. at 264

(“[B]ecause the district court lacks jurisdiction over ‘those aspects of the case involved in the

appeal,’ it must necessarily lack jurisdiction over the continuation of any proceedings relating to

the claims at issue.” (quoting Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)).)

         This district has affirmed application of the automatic stay in procedurally similar

situations, see In re Butler, No. ADV 2:12-2026, 2013 WL 2102969, at *5 (S.D.W. Va. May 14,

2013), and has even expanded the rule to incorporate arbitration appeals taken from Bankruptcy

Courts. Vanderbilt Mortg. & Fin., Inc. v. Lucas, No. 2:14-MC-00136, 2014 WL 4202647, at *7

(S.D.W. Va. Aug. 22, 2014). Accordingly, an automatic stay should go into effect.

   II.      If the Court finds that pending deadlines still apply, the Lending Defendants
            request an extension of those deadlines.

         As explained above, an automatic stay should be effected upon the Lending Defendants’

filing of their notice of appeal pursuant to 9 U.S.C. § 16(a). In an abundance of caution, however,

the Lending Defendants request an extension of any pending deadlines, including any deadline to



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answer the First Amended Complaint and respond to discovery, until the issue of arbitration as to

the Lending Defendants has been resolved.

Dated: March 29, 2023                Respectfully submitted,


                                     /s/ Carrie Goodwin Fenwick

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2023, I caused to be filed a copy of the foregoing with

the Clerk of the Court using the Electronic Case Filing (ECF) system, which will send a notice to

all attorneys who have entered an appearance in this matter.



                                             /s/ Carrie Goodwin Fenwick
                                             Carrie Goodwin Fenwick
